Case 17-38013   Doc 13   Filed 01/03/18 Entered 01/03/18 15:31:31   Desc Main
                           Document     Page 1 of 6
Case 17-38013   Doc 13   Filed 01/03/18 Entered 01/03/18 15:31:31   Desc Main
                           Document     Page 2 of 6
Case 17-38013   Doc 13   Filed 01/03/18 Entered 01/03/18 15:31:31   Desc Main
                           Document     Page 3 of 6
Case 17-38013   Doc 13   Filed 01/03/18 Entered 01/03/18 15:31:31   Desc Main
                           Document     Page 4 of 6
Case 17-38013   Doc 13   Filed 01/03/18 Entered 01/03/18 15:31:31   Desc Main
                           Document     Page 5 of 6
Case 17-38013   Doc 13   Filed 01/03/18 Entered 01/03/18 15:31:31   Desc Main
                           Document     Page 6 of 6
